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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )       Case No. 1:21-cr-00245-AJT
                                               )
IGOR Y. DANCHENKO,                             )
                                               )
                       Defendant.              )

              DEFENDANT IGOR DANCHENKO’S NOTICE REGARDING
                   SUPPLEMENTAL CIPA SECTION 5 FILING

       Defendant Igor Danchenko, by and through counsel, hereby provides this notice regarding

his supplemental CIPA Section 5 filing. Counsel for Mr. Danchenko and the Special Counsel have

continued discussions regarding the use of classified information during the upcoming October

trial. Based on those discussions, Mr. Danchenko does not intend to provide further notice of

additional classified information that he would reasonably expect to introduce at trial. At the time

of this filing, the Special Counsel has produced a portion of the declassified materials that were

previously litigated as a result of Mr. Danchenko’s first CIPA Section 5 notice. It is expected that

the remaining requested materials will be declassified and produced in time for use at trial.

       However, because some materials have not yet been produced and the defense, therefore,

has not been able to determine whether the Special Counsel’s proposed summaries and redactions

are acceptable, Mr. Danchenko may ask leave of the Court to file a supplemental CIPA Section 5

notice should it become necessary. All parties continue to act in good faith to resolve any classified

information issues without the need for intervention by the Court and it is expected that no further

litigation will be necessary. Nevertheless, the Special Counsel has informed undersigned counsel

that he will not object to the filing of a renewed or supplemental CIPA Section 5 notice should the

need for one arise.

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       WHEREFORE based on the foregoing reasons Mr. Danchenko does not intend to

supplement his first CIPA Section 5 notice unless and until such notice becomes necessary.


Dated: September 20, 2022                   Respectfully submitted,

                                            IGOR DANCHENKO
                                            By Counsel

                                                    /s/
                                            Stuart A. Sears (VSB 71436)
                                            Danny Onorato (Pro Hac Vice)
                                            SCHERTLER ONORATO MEAD & SEARS, LLP
                                            555 Thirteenth Street, NW
                                            Suite 500 West
                                            Washington, DC 20004
                                            Ph: 202-628-4199
                                            Fax: 202-628-4177
                                            ssears@schertlerlaw.com
                                            donorato@schertlerlaw.com




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of September, 2022, I electronically filed a true copy

of the foregoing reply with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing (NEF) to all parties.



                                                       /s/
                                               Stuart A. Sears (VSB 71436)
                                               Danny Onorato (Pro Hac Vice)
                                               SCHERTLER ONORATO MEAD & SEARS, LLP
                                               555 Thirteenth Street, NW
                                               Suite 500 West
                                               Washington, DC 20004
                                               Ph: 202-628-4199
                                               Fax: 202-628-4177
                                               ssears@schertlerlaw.com




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